Case 1:01-cv-12257-PBS Document 6647 Filed 11/04/09 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

- IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE
LITIGATION

MDL No. 1456
Master Pile No.: 01-CV-12257-PBS
Subcategory Case No.: 07-12141-PBS

THIS DOCUMENT RELATES TO:

State of lowa v.
Abbott Laboratories Inc., et al.

Judge Patti B. Saris

NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF'S.CLAIMS AGAINST
CERTAIN DEFENDANTS

IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto, by

and through their respective attorneys, pursuant to Fed. R. Civ. Pro. 41, that all claims in this

action against Abbott Laboratories Inc., Abbott Laboratories, Amgen Inc., Baxter Healthcare

Corporation, Baxter International Inc., Ben Venue Laboratories, Inc., Boehringer Ingelheim

Roxane, Inc., Boehringer Ingelheim Corporation, Boehringer Ingelheim Pharmaceuticals Inc.,

Immunex Corporation, and Roxane Laboratories, Inc. are dismissed with prejudice and without

costs to any party.

By:

CH-1721661v)

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Case 1:01-cv-12257-PBS Document 6647 Filed 11/04/09 Page 2 of 2

CH)-1721661¥1

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